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 8                                 UNITED STATES DISTRICT COURT

 9                              SOUTHERN DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,           )                  Case No. 05cr1633-L
                                          )
11                      Plaintiff,        )
                                          )                  ORDER OF CRIMINAL
12          v.                            )                  FORFEITURE
                                          )
13    PETS PHARMA, S.A. De C.V.(1),       )
                                          )
14                      Defendant.        )
      ____________________________________)
15

16           WHEREAS, in the Indictment in the above-captioned case, the United States sought

17    forfeiture of all right, title and interest in specific properties of the above-named Defendant, PETS

18    PHARMA, S.A. De C.V.(1) ("Defendant"), pursuant to Title 21, United States Code,

19    Section 853(a)(1) and (a)(2), as property obtained directly or indirectly as the result of the

20    commission of the violations charged in the Indictment; and

21           WHEREAS, on or about June 4, 2007, Defendant pled guilty to Count 2 of the Indictment,

22    which plea included a consent to the forfeiture allegations of the Indictment and an agreement to

23    entry of a $500,000 judgment against the Defendant in favor of the United States; and

24           WHEREAS, by virtue of the admissions of the Defendant set out in the plea agreement and

25    guilty plea, the Court determined that $500,000 (U.S. dollars) represents the drug proceeds the

26    Defendant obtained directly or indirectly as a result of the violation of Title 21, United States

27    Code, Sections 846 and 841(a)(1), as charged in the Indictment; and

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 1           WHEREAS, by virtue of said guilty plea and the Court’s findings, the United States is now

 2    entitled to an Order of Forfeiture and a judgment in its favor against the Defendant in the amount

 3    of $500,000, pursuant to 21 U.S.C. § 853 and Rule 32.2(b) of the Federal Rules of Criminal

 4    Procedure; and

 5           WHEREAS, Rule 32.2(c)(1) provides that "no ancillary proceeding is required to the extent

 6    that the forfeiture consists of a money judgment;" and

 7           WHEREAS, by virtue of the facts set forth in the plea agreement, the United States has

 8    established the requisite nexus between the $500,000 judgment and the offense; and

 9           WHEREAS, the United States, having submitted the Order herein to the Defendant through

10    its attorney of record, to review, and no objections having been received;

11           Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

12           1.        Defendant PETS PHARMA, S.A. De C.V.(1) shall forfeit to the United States the

13    sum of $500,000 pursuant to Title 21, United States Code, Section 853(a)(1) and (a)(2); and

14           2.      The Clerk of the Court is directed to enter a judgment in favor of the United States

15    against Defendant PETS PHARMA, S.A. De C.V. in the amount of $500,000.00 with interest to

16    accrue thereon in accordance with law; and

17           3.      This Court shall retain jurisdiction in the case for the purpose of enforcing the order

18    of forfeiture and collecting and enforcing the judgment; and

19           4.      Pursuant to Rule 32.2(b)(3), this Order of Forfeiture shall be made final as to the

20    Defendant at the time of sentencing and is part of the sentence and included in the judgment; and

21           5.      The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

22    Order of Forfeiture to substitute property having a value not to exceed $500,000 to satisfy the

23    money judgment in whole or in part; and

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 1           6.       The United States may take any and all actions available to it to collect and enforce

 2    the judgment.

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      DATED: July 26, 2007
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 5                                                  M. James Lorenz
                                                    United States District Court Judge
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